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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CARPENTERS SOUTHWEST CASE NO. 2:21-cv-04922-SV W-ASx
ADMINISTRATIVE CORPORATION,

a California non-profit corporation; and
BOARD OF TRUSTEES FOR THE

CARPENTERS SOUTHWEST fPRORSSER} JUDGMENT
TRUSTS, PURSUANT TO STIPULATION
Plaintiffs FOR ENTRY OF JUDGMENT

V.

GEORGE FOSTER, also known as
GEORGE A. FOSTER, individually
and doin business as FOSTER Before The Honorable

FLOORING, a sole 1
ownership; and DOES 1 through 10, Stephen V. Wilson

inclusive,

Defendants.

 

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
plaintiffs, CARPENTERS SOUTHWEST ADMINISTRATIVE CORPORATION, a
California non-profit corporation; and BOARD OF TRUSTEES FOR THE
CARPENTERS SOUTHWEST TRUSTS, (“PLAINTIFFS”), have judgment against
defendant, GEORGE FOSTER, also known as GEORGE A. FOSTER, individually
and doing business as FOSTER FLOORING, as follows:

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That JUDGMENT be entered in favor ofp CARPENTERS SOUTHWEST
ADMINISTRATIVE CORPORATION, a California non-profit corporation; and
BOARD OF TRUSTEES FOR THE CARPENTERS SOUTHWEST TRUSTS for
damages in the amount of $650,382.94. Interest at the legal rate will accrue from

when the judgment is entered.
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THE HONORABLE STEPHEN V. WILSON
UNITED STATES DISTRICT JUDGE

Dated: October 26, 2021

 

Respectfully submitted by,

SHANLEY,
a Professional Corporation

N ZELLE-

Attorneys for Plaintiffs,
CARPENTERS SOUTHWEST
ADMINISTRATIVE CORPORATION
and BOARD OF TRUSTEES FOR
THE CARPENTERS SOUTHWEST
TRUSTS

 
